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 1                                                           The Honorable Richard A. Jones
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                            UNITED STATES DISTRICT COURT FOR THE
 8
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE
10
11    UNITED STATES OF AMERICA,
                                                       NO. CR20-151RAJ
12                              Plaintiff,
13
14                                                     STIPULATED MOTION FOR
                           v.
                                                       PROTECTIVE ORDER
15    EPHRAIM ROSENBERG,
      JOSEPH NILSEN,                                   Noted: October 30, 2020
16
      HADIS NUHANOVIC,
17    KRISTEN LECCESE,
      ROHIT KADIMISETTY, and
18
      NISHAD KUNJU,
19                     Defendants.
20
21          The United States of America, by and through Brian T. Moran, United States
22 Attorney for the Western District of Washington, and Steven Masada and Siddharth
23 Velamoor, Assistant United States Attorneys, and Defendants EPHRAIM ROSENBERG,
24 JOSEPH NILSEN, HADIS NUHANOVIC, KRISTEN LECCESE, and ROHIT
25 KADIMISETTY (collectively “Defendants”), by and through their attorneys of record
26 below, hereby file this Stipulated Motion for a Protective Order.
27
28
     U.S. v. Rosenberg, et al. / CR20-151 RAJ                           UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     Stipulated Motion for Protective Order - 1                          SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
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 1                                               I.       BACKGROUND
 2            On September 16, 2020, a Grand Jury in this District returned an Indictment against
 3 the Defendants. See Dkt. 1. Pursuant to Rule 16 of the Federal Rules of Criminal
 4 Procedure, the Local Rules of the U.S. District Court for the Western District of
 5 Washington, and other applicable law, the United States will produce discovery to the
 6 Defendants. The government anticipates that its discovery production will consist of
 7 sensitive and confidential materials, including: (1) personal identifying information (PII)1
 8 about witnesses and other third parties2; (2) transcripts of testimony before the Grand Jury;
 9 and (3) trade secret and other business confidential information that is alleged to belong to
10 victims of the conduct charged in the Indictment; and (4) information about pending non-
11 public criminal investigations.
12                                 II.      PROTECTIVE ORDER REQUEST
13            The potential disclosure of this sensitive, confidential, information (referred to
14 herein as the “Protected Material”) to persons other than the relevant defendants and their
15 counsel may therefore impair numerous interests, including victims’ interests in the
16 confidentiality and exclusive use of their information, the privacy and security of third
17 parties, and the integrity of ongoing government investigations. The parties agree that
18 there is good cause for the entry of a Protective Order to safeguard these interests. See Fed.
19 R. Crim. P. 16(d)(1) (“At any time the court may, for good cause deny, restrict, or defer
20 discovery or inspection, or grant other appropriate relief.”); see also United States v.
21 Alderman, 394 U.S. 165, 185 (1969) (“[T]he trial court can and should, where appropriate,
22 place a defendant and his counsel under enforceable orders against unwarranted disclosure
23
24   1
       “PII” includes, but is not necessarily limited to, the information identified in Fed. R. Crim. P. 49.1(a) and includes
     full names, dates of birth, Social Security numbers (or other identification information), financial account
25   information (including account numbers), tax information, driver’s license numbers, addresses, telephone numbers,
     locations of residences or employment, medical records, school records, juvenile criminal records, and other
26   confidential information. The government has tried and will continue to try to redact PII as appropriate, but the
     parties acknowledge and agree that this will not always be possible, and that in some instances un-redacted PII may
27   be necessary to the defense.
     2
       The term “third party” includes defendants other than the defendant to whom discovery is being produced by the
28   government.
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 1 of the materials which they may be entitled to inspect.”); United States v. Wecht, 484 F.3d
 2 194, 211 (3d Cir. 2007).
 3           The parties request that the Court enter a Protective Order that would prohibit the
 4 distribution of the Protected Material and the information contained therein, as set forth in
 5 greater detail in the Proposed Order. In essence, under the proposed Protective Order,
 6 possession of the Protected Material would be limited to the attorneys of record in this case
 7 and their staff, and to any investigators, expert witnesses, and other agents that the attorneys
 8 of record retain in connection with this case. Each defendant would be permitted to inspect
 9 and review the Protected Material but would not be permitted to possess Protected
10 Material, or to make or retain copies of Protected Material. These proposed restrictions
11 are designed to permit full use of the Protected Material and information contained therein
12 in the preparation of the defendants’ defense, but to avoid distributing Protected Material
13 and the information therein to other persons who have no legitimate defense-related need
14 for the information.
15                                             III.   CONCLUSION
16           For the foregoing reasons, the parties respectfully request that the Court enter the
17 proposed Protective Order.
18
19           DATED this 30th day of October, 2020.
20                                                         Respectfully submitted:
                                                           BRIAN T. MORAN
21
                                                           United States Attorney
22
                                                           s/ Siddharth Velamoor
23
                                                           SIDDHARTH VELAMOOR
24                                                         STEVEN MASADA
                                                           Assistant United States Attorneys
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      U.S. v. Rosenberg, et al. / CR20-151 RAJ                                 UNITED STATES ATTORNEY
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                                                                                      (206) 553-7970
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 1 So stipulated this 30th day of October 2020, via email authorization.
 2
 3 /s/ Peter Offenbecher
   PETER OFFENBECHER
 4
   JACOB LAUFER
 5 Counsel for Defendant Ephraim Rosenberg
 6
   /s/Justine Harris
 7 JUSTINE HARRIS
   ROBERT FLENNAUGH
 8
   Counsel for Defendant Joseph Nilsen
 9
10 /s/Kathleen Cassidy
   KATHLEEN CASSIDY
11 ROBERT FLENNAUGH
   Counsel for Defendant Kristen Leccese
12
13 /s/Jess Johnson
   JESS JOHNSON
14
   MICHAEL NANCE
15 Counsel for Defendant Hadis Nuhanovic
16
   /s/Kam Kooshki
17 KAM KOOSHKI
   BARRY FLEGENHEIMER
18
   Counsel for Defendant Rohit Kadimisetty
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     U.S. v. Rosenberg, et al. / CR20-151 RAJ                           UNITED STATES ATTORNEY
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                                                                               (206) 553-7970
               Case 2:20-cr-00151-RAJ Document 61 Filed 10/30/20 Page 5 of 5




 1                                      CERTIFICATE OF SERVICE
 2          I hereby certify that on October 30, 2020, I electronically filed the foregoing with
 3 the Clerk of the Court using the CM/ECF system that will send notification of such filing
 4 to the attorney of record for the Defendant.
 5
 6
                                                      s/Marwa Hirmendi
 7                                                    MARWA HIRMENDI
 8                                                    Legal Assistant
                                                      United States Attorney’s Office
 9                                                    700 Stewart Street, Suite 5220
10                                                    Seattle, Washington 98101
                                                      Phone: (206) 553-4750
11                                                    Fax: (206) 553-0755
12                                                    Email: Marwa.hirmendi@usdoj.gov
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     U.S. v. Rosenberg, et al. / CR20-151 RAJ                              UNITED STATES ATTORNEY
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